Case 4:21-cr-00214-CVE Document 35 Filed in USDC ND/OK on 01/03/22 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                      Plaintiff,

vs.                                                         Criminal No. 21-cr-00214-CVE

JEFFREY BRENT THOMAS,

                      Defendant.

            UNOPPOSED MOTION TO CONTINUE JANUARY 2022 TRIAL

       Defendant Jeffrey Brent Thomas moves this Court to vacate and continue the trial of this

matter now set on the January 18, 2022 trailing docket for at least sixty (60) days. As grounds for

this motion, the Defendant states as follows:

       1.      On May 4, 2021, Defendant Jeffrey Brent Thomas was indicted and charged with

two counts of Assaulting, Resisting, or Impeding a law enforcement officer, in violation of 18

U.S.C. §§ 111(a)(1) and 111(b), and one count of eluding/evading a law enforcement officer, in

violation of Oklahoma Statutes § 540A(B) [Doc. 15], after originally having been charged by

Criminal Complaint on April 6, 2021. [Doc. 1]

       2.      Undersigned counsel was appointed to represent Mr. Thomas on April 13, 2021.

[Doc. 13]

       3.      This matter is currently scheduled for Jury Selection and Trial on the Court’s

January 18, 2022 trailing docket, and the pretrial conference is scheduled on January 4, 2022.

[Doc. 33]
Case 4:21-cr-00214-CVE Document 35 Filed in USDC ND/OK on 01/03/22 Page 2 of 4




        4.     Counsel requires additional time to review and analyze the discovery provided by

the Government, to investigate, research and develop potential defenses, and to potentially hire

and prepare expert witnesses.

        5.     Additionally, defense counsel requests additional time to meet with Mr. Thomas to

review and discuss the government’s discovery and to discuss the issues relevant to any defenses,

a possible pretrial resolution, and sentencing considerations. This process is expected to take at

least sixty (60) days.

        6.     Most importantly, Mr. Thomas is currently facing significantly more complex and

serious charges in the United States District Court for the Eastern District. Undersigned was

appointed to represent Mr. Thomas in that matter on November 12, 2021, and has not yet received

and reviewed the discovery for that matter.

        7.     While the alleged conduct leading to the charges filed in the Eastern District is

unrelated to the charges in this Court, the resolution of the charges here could affect what occurs

there, and vice-versa. Accordingly, to provide effective assistance to Mr. Thomas, defense counsel

requires additional time to evaluate the merits of that case, including being afforded needed tome

to receive and analyze discovery materials, investigate the charges, and potentially discuss with

the United States the possibility of a global resolution, ultimately conserving significant judicial

resources, as well as providing a benefit to Mr. Thomas.

        8.     Under the current circumstances, the requested continuance is the absolute

minimum time necessary for the Defendant’s counsel to provide effective assistance of counsel in

this case.

        9.     The continuance of this matter will serve the ends of justice and outweigh the best

interest of the public and the defendant in a speedy trial by affording the Defendant a reasonable




                                                 2
Case 4:21-cr-00214-CVE Document 35 Filed in USDC ND/OK on 01/03/22 Page 3 of 4




opportunity review and consider the Government’s evidence in both cases against him, and

investigate those charges, as well as to negotiate and possibly enter into a plea agreement whereby

his exposure may be limited, and judicial economy advanced. Accordingly, the continuance

sought by the Defendant is appropriate under 18 U.S.C. §3161(h)(7)(A), (B)(iv). See United States

v. Toombs, 574 F.3d 1262, 1268-69, 71-73 (10th Cir. 2009); United States v. Hernandez-Mejia,

406 Fed. Appx. 330 (10th Cir. 2011) (unpublished).

        10.     The Defendant agrees that the time between this motion and the date of jury

selection should be excluded for speedy trial purposes under 18 U.S.C. §3161(h)(7)(A), (B)(iv),

and separate Waiver of Speedy Trial will be filed.

        11.     AUSA Steven Briden does not oppose this motion.

        WHEREFORE, Defendant moves that the Court vacate and continue the trial of this matter

currently set on the January 2022 trailing docket for at least sixty (60) days and continue all pretrial

deadlines until further order of this Court.



                                                Respectfully submitted,

                                                /s/Donald F. Kochersberger III

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                                                Attorney for Defendant Jeffrey Brent Thomas




                                                   3
Case 4:21-cr-00214-CVE Document 35 Filed in USDC ND/OK on 01/03/22 Page 4 of 4




        I HEREBY CERTIFY that on this the 3rd day of January, 2022, I filed the foregoing
electronically through the CM/ECF system, which caused all counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:


       Electronically Filed
       Donald F. Kochersberger III
       Attorney for Defendant




                                             4
